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           In the United States Court of Federal Claims
                                                 )
 JOHN P. BOWEN,                                  )
                                                 )
                        Plaintiff,               )
                                                 )               No. 19-1812L
 v.                                              )               (Filed: February 21, 2020)
                                                 )
 THE UNITED STATES OF AMERICA,                   )
                                                 )
                        Defendant.               )
                                                 )
                                                 )
                                                 )

                                             ORDER

        This case was stayed pending resolution of the government’s motion to dismiss in State
of Mississippi, et al. v. United States, Case No. 19-231, a related case. ECF No. 7. On February
6, the Court denied the government’s motion to dismiss in State of Mississippi. Case No 19-231,
ECF No. 27. Therefore, the stay of proceedings pursuant to the Court’s January 23, 2020 Order,
ECF No. 7, is hereby LIFTED. On February 20, the Court issued an order detailing the schedule
for further proceedings in State of Mississippi. Case No. 19-231, ECF No. 31.

       Before the Court is the parties’ Joint Status Report proposing further proceedings in this
case. The Court will STAY the United States’ answer to Plaintiff’s amended complaint. To
promote efficiency, the Court will put this case on the same schedule as State of Mississippi, as
follows:

       March 2, 2020                  Plaintiff shall file his Amended Complaint

       March 23, 2020                 United States shall file its Motion to Consolidate Cases

       March 30, 2020                 Plaintiff shall file his Response to the United States’ Motion
                                      to Consolidate, if any

       April 6, 2020                  United States shall file its Reply to Plaintiff’s Response,
                                      if any

       April 10–17, 2020              Early Meeting of Counsel

       April 22, 2020                 Parties shall file a Joint Preliminary Status Report
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       After the parties submit their Joint Preliminary Status Report on April 22, the Court will
schedule a status conference to discuss further proceedings in this case.

       IT IS SO ORDERED.



                                                      s/ Elaine D. Kaplan
                                                      ELAINE D. KAPLAN
                                                      Judge




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